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IN THE UNITED s'rATEs DISTRICT coURT F"'ED iii U-'-E~'~» O'C'

FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20417-Ma

VS.

ANTHONY TOWNER,

Defendant.

 

ORDER ON CONTIN'UANCE A.ND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
Counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case and to allow for
the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 31, 2005 through August 12, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161{h}(l)(F)

because the interests of justice in allowing additional time to

prepare and the need to dispose of the pending motion outweigh the

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need for a speedy trial.

IT IS SO ORDERED this day of June, 2005.

   

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20417 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

